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14   Attorneys for Plaintiffs

15                                   UNITED STATES DISTRICT COURT
                                          DISTRICT OF NEVADA
16
17   IN RE HANKINS PLASTIC SURGERY                             Case No.: 2:23-cv-00824-RFB-DJA
     ASSOCIATES, P. C. dba HANKINS & SOHN
18   PLASTIC SURGERY ASSOCIATES
                                                               STIPULATION AND ORDER REGARDING
19   This Document Relates to: All Actions                     CONSOLIDATION OF AURORA V. HANKINS
20                                                             PLASTIC SURGERY ASSOCIATES, P.C. ET.
                                                               AL., CASE NO. 2:23-CV-02112
21
22          Plaintiffs JENNIFER TAUSINGA, ALYSIA WRENN, OLGA ROMASHOVA, and CAROLINE
23   AURORA (collectively, “Plaintiffs”) on behalf of themselves and all other similarly situated, by and
24   through their counsel of record; and Defendant HANKINS & SOHN PLASTIC SURGERY
25   ASSOCIATES dba Hankins Plastic Surgery Associates, P.C., (collectively, “Defendants” or “the
26   Practice”), by and through its counsel of record, SCHNITZER JOHNSON & WATSON, CHTD
27   respectfully stipulate regarding the consolidation of actions as follows:
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1           Pursuant to D. Nev. L.R. 7-1, the below referenced parties stipulate and represent as follows:
2           1.      On May 5, 2023, Defendants Hankins Plastic Surgery Associates, P.C. dba Hankins &
3    Sohn Plastic Surgery Associates, Samuel M. Sohn, and Warren Tracy Hankins removed Case 2:23-cv-
4    00710-CDS-EJY to this District Court before the Honorable Cristina D. Silva. Plaintiff Alysia Wrenn had
5    filed the case in state court on April 5, 2023. Separately, Defendant Hankins Plastic Surgery Associates,
6    P.C. removed Case 2:23-cv-00824-RFB-DJA to this Court on May 25, 2023. Plaintiff Jennifer Tausinga
7    had filed the case in state court on March 30, 2023.
8           2.      In both cases, Plaintiffs’ proposed class actions allege that Plaintiffs provided their personal
9    identifiable information and had photographs taken in order to obtain medical services. Plaintiffs further
10   allege that Defendant failed to, inter alia, protect this information from unauthorized access by third
11   parties. The cases name the same Defendants, arise from the same events, and assert overlapping claims
12   and putative classes.
13          3.      Pursuant to Federal Rule of Civil Procedure 42(a) and Local Rule 42-1(b), district courts
14   have the authority to consolidate cases involving common questions of law or fact. On July 28, 2023, the
15   parties filed a stipulation to consolidate these cases pursuant to Federal Rule of Civil Procedure 42(a) and
16   Local Rule 42-1. See 2:23-cv-00710-CDS-EJY, ECF No. 14; 2:23-cv-00824-RFB-DJA, ECF No. 13. The
17   Court reviewed the record of both cases and found that the subject matter of, and parties to, the cases
18   substantially overlap, and further found that judicial economy would be served by having the cases
19   consolidated before a single District Court Judge and Magistrate Judge.
20          4.      As a result, Cases 2:23-cv-00710-CDS-EJY and 2:23-cv-00824-RFB-DJA were
21   consolidated (hereinafter “Consolidated Action”), with Case 2:23-cv-00824-RFB-DJA serving as the lead
22   case [ECF No. 16].
23          5.      Further, the Court determined that all future filings in these cases shall be filed in the lead
24   case. All future filings in these cases shall be filed in the lead case bearing the following caption: In re
25   HANKINS PLASTIC SURGERY ASSOCIATES, P.C. dba HANKINS & SOHN PLASTIC SURGERY
26   ASSOCIATES, Lead Case No. 2:23-cv-00824-RFB-DJA. The case file for the Consolidated Action will
27   be maintained under Master file No. 2:23-cv-00824-RFB-DJA.
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1           6.      Plaintiffs JENNIFER TAUSINGA, ALYSIA WRENN, and OLGA ROMASHOVA filed
2    a Consolidated Compliant in the Master file No. 2:23-cv-00824-RFB-DJA on September 15, 2023 [ECF
3    No. 19].
4           7.      On December 5, 2023, the Court issued an Order Appointing Interim Class Counsel for the
5    Consolidated Action. [ECF No. 31].
6           8.      Subsequently, Aurora v. Hankins Plastic Surgery Associates, P.C. et. al., Case No. 2:23-
7    cv-02112 (hereinafter the “Aurora matter”) was filed in the Eighth Judicial District Court (Clark County),
8    and Defendant subsequently removed the Aurora matter to another court in this District, with Judge
9    Andrew P. Gordon presiding initially.
10          9.      On January 19, 2024, Judge Gordon transferred the Aurora matter to this Court, finding it
11   related to the Consolidated Action. [ECF No. 10]. Although the Aurora matter was transferred to this
12   Court, it has not yet been consolidated with the Consolidated Action.
13          10.     Since Aurora’s removal and transfer, counsel for Plaintiffs JENNIFER TAUSINGA,
14   ALYSIA WRENN, and OLGA ROMASHOVA have conferred with counsel for the Aurora matter and
15   agree that consolidation is appropriate under FRCP Rule 42(a) because the Consolidated Action and the
16   Aurora matter involve common questions of law or fact, specifically, the cases name the same Defendant,
17   arise from the same events and assert overlapping claims and putative classes;
18          11.     Plaintiffs in the Consolidated Action as well as the Aurora matter agree to file this
19   stipulation in both matters and therefore this Court is without prejudice to Defendant’s rights, remedies,
20   defenses, objections, and legal arguments;
21          12.     The parties agree not to argue that by entering into this stipulation or acting in conformance
22   with its terms, Defendant has waived or acted in any way inconsistent with any right, remedy, or defense.
23   subject to the provisions described above, Plaintiffs do not oppose procedural consolidation of the Related
24   Actions under Fed. R. Civ. Proc. 42(a) and D. Nev. L.R. 42-1, while expressly reserving all of its rights,
25   remedies, defenses, objections, and legal arguments;
26          13.     The parties propose, subject to Court approval, the following:
27          •       The Aurora matter is to be consolidated into the Consolidated Action.
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1           •       When a pleading is intended to apply to all actions to which this Order applies, the words
2    “All Actions” shall appear immediately after the words “This Document Relates To:” in the caption
3    described above. When a pleading is not intended to apply to all actions, the docket number for each
4    individual action to which the paper is intended to apply and the last name of the first named plaintiff in
5    said action shall appear immediately after the words “This Document Relates To:” in the caption identified
6    above, for example, “2:23-cv-02112, (Aurora).”
7           •       Any action subsequently filed, transferred, or removed to this Court that arises out of the
8    same or similar operative facts as the Consolidated Action will be consolidated with the Consolidated
9    Action for pre-trial purposes. The parties shall file a Notice of Related Action pursuant to Local Rule 42-
10   1 whenever a case that should be consolidated into this action is filed in, or transferred to, this District.
11          •       If the Court determines that the case is related, the clerk shall: a.) Place a copy of this Order
12   in the separate file for such action; b.) Serve on Plaintiffs’ counsel in the new case a copy of this Order;
13   c.) Direct that this Order be served upon defendants in the new case; and d.) Make the appropriate entry
14   in the Master Docket.
15          •       The Court should issue a ruling on Defendant’s pending Motion to Dismiss on the
16   Consolidated Action [ECF No. 27].
17          •       Depending on the Court’s ruling and if any amendments are permitted at that time, the
18   parties will make changes to the Consolidated Action to include the Aurora plaintiff.
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1           •     In the meantime, all parties will continue forward under the current Scheduling Order [ECF
2    No. 48].
3    IT IS SO STIPULATED.
4
5     DATED this 7th day of June, 2024.                 DATED this 7th day of June, 2024.
6     THE BOURASSA LAW GROUP                            KRAVITZ SCHNITZER JOHNSON &
7                                                       WATSON, CTD.

8     By: Jennifer A. Fornetti                          By: L. Renee Green
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                                                            LADAH LAW FIRM
14      LYNCH CARPENTER LLP

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17                                                           Attorneys for Plaintiff Wrenn
         Attorneys for Plaintiff Tausinga
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        TURKE & STRAUSS LLP                                 RICHARD HARRIS LAW FIRM
19
20      By: Raina Borrelli                                  By: Jonathan B. Lee
         RAINA BORRELLI (pro hac vice)                       CLARK SEEGMILLER, ESQ. (NBN 3873)
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22       Attorneys for Plaintiff Romashova                   Las Vegas, NV 89101
23                                                           Attorneys for Plaintiff Aurora

24   IT IS SO ORDERED:
25
                                          RICHARD F. BOULWARE, II
26
                                          UNITED STATES DISTRICT JUDGE
27
28                                        DATED: August 1, 2024
                                          CASE NO.: 2:23-cv-00824-RFB-DJA


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1                                      CERTIFICATE OF SERVICE
2
3           Pursuant to FRCP 5(b), I certify that I am an employee of The Bourassa Law Group, and that on
     this date I caused to be served a true copy of STIPULATION AND ORDER REGARDING
4    CONSOLIDATION OF AURORA V. HANKINS PLASTIC SURGERY ASSOCIATES, P.C. ET.
5    AL., CASE NO. 2:23-CV-02112 on all parties to this action by the method(s) indicated below:

6            X     by using the Court’s CM/ECF Electronic Notification System addressed to:
7                Gary E. Schnitzer, Esq.
                 L. Renee Green, Esq.
8
                 KRAVITZ SCHNITZER JOHNSON & WATSON, CTD.
9                Email: gschnitzer@ksjattorneys.com
                         rgreen@ksjattorneys.com
10
11          DATED: This 7th day of June, 2024.
12
13                                               /s/ Kylie B. VanderMiller
                                                 Employee of The Bourassa Law Group
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